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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

UNITED STATES OF AMERICA             )
                                     )     2:18 CR 33 PPS/JEM
      v.                             )
                                     )
SAMANTHA ELHASSANI                   )

             Government’s Statement of Law and Overview
              of the Classified Information Procedures Act

      In anticipation of the status hearing scheduled for November 1, 2018,

the United States submits the following statement of law and overview of

anticipated issues related to the Classified Information Procedures Act, Title

18, United States Code, Appendix III (“CIPA”).

                               I. Introduction

      On March 21, 2018, Defendant Samantha Elhassani was indicted for

making false statements to federal agents in violation of Title 18, United States

Code, Section 1001. DE 1.      Defendant made an initial appearance before

Magistrate Judge John Martin on July 25, after she was transported to the

United States from overseas. DE 9. On August 22, Defendant was charged via

a superseding indictment for conspiring to provide material support to ISIS

and aiding and abetting others in providing material support to ISIS, in

violation of Title 18, United States Code, Section 2339B. DE 23.
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      The government began investigating Defendant and her co-conspirators

several years before the instant charges were filed. Accordingly, the discovery

in this case is voluminous and will involve CIPA motions and hearings. As

explained below, CIPA will ensure that Defendant is provided with all required

discovery and receives a fair trial, without any undue and unnecessary

disclosures that would adversely impact national security. This memorandum

does not address the specific facts of Defendant’s case or how CIPA will apply

to specific discovery in this case; rather, it is intended to provide a roadmap of

what CIPA proceedings are likely to occur in this matter.

                           II. CIPA General Principles

      CIPA does not alter the rules of discovery or evidence. See Wilson,

Douglas J., National Security Investigations and Prosecutions § 25:3 (“[CIPA]

does not prescribe rules for the admissibility of classified information or

otherwise purport to alter the rules of evidence or criminal procedure. Nor

does it expand or limit the government's discovery obligations. Instead, the

statute creates a mechanism designed to protect both classified information

and the defendant's right to a fair trial.”).        CIPA is not designed to

disadvantage the defendant. See United States v. Moussaoui, 382 F.3d 453,

477 (4th Cir. 2004) (“CIPA thus enjoins district courts to seek a solution that

neither disadvantages the defendant nor penalizes the government (and the

public) for protecting classified information that may be vital to national

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security.”). The statutory and constitutional discovery rights of a defendant

charged with a national security crime are no less important and no different

than those of any other defendant. Should this case proceed to trial, it will look

much like any other federal criminal trial.

      Nevertheless, national security cases involve difficult decisions

balancing many interests. When in doubt, the government favors disclosure;

it has and will continue to disclose records even if they are beyond the scope of

the charges or are not technically discoverable.      But admittedly, in cases

involving national security, a defendant may not receive some materials the

government might otherwise tender in a case that lacks national security

considerations. In instances where a disclosure would harm national security,

decisions about how to handle such information must face careful scrutiny.


               a.    Classification: The CIPA Prerequisite

      The government will not ask the Court to supervise every discovery

determination in this case. The government has already produced more than

400 unclassified discovery files, which amount to more than 5,000 pages of

records.   Before the November 1 hearing, the government anticipates

producing another substantial sum of unclassified records. Among other

things, the government will produce unclassified Jencks materials for

numerous individuals who may or may not be called as witnesses, more than


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a year before the scheduled trial date. None of these determinations will

require any Court intervention.

      As the title suggests, CIPA only applies to classified information. 18

U.S.C.A. App. III § 1. When government counsel obtains classified information

that it intends to produce to the defendant, the first step for the government is

to determine if it is possible to declassify that material. See 28 C.F.R. § 17.17(a)

(requiring government attorneys to seek declassification of materials that they

must produce in litigation when possible); see also United States v. O’Hara, 301

F.3d 563, 568 (7th Cir. 2002) (noting the government’s successful efforts to

obtain declassification after a Court’s ruling on a discovery issue). When

declassification is not an option, there is simply no way around the strictures

of CIPA.

                    b. Classification and Cleared Counsel

      In order to view classified material without violating applicable laws and

regulations, an individual must obtain a security clearance and have a need to

know. See, e.g., United States v. Amawi, 2009 WL 961143 (N.D. Ohio), citing

Exec. Order No. 13292, Section 6.1(z), 68 Fed.Reg. 15315, 15322 (Mar. 28,

2003); Badrawi v. Dep’t of Homeland Security, 2009 WL 103361, *9 (D.Conn.)

(counsel without need to know properly denied access to classified information

despite security clearance). Article III Judges are automatically entitled to

access classified information necessary to resolve issues before them. Pub. Law

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No. 96-456, 94 Stat. 2005, Appendix B (Security Procedures). Judicial clerks

and other court personnel must undergo additional background checks prior to

receiving classified information. 1 See, United States v. Smith, 899 F.2d 564,

568-69 (6th Cir. 1990) (“We therefore hold that the Executive Branch may

conduct reasonable background investigations, subject to district court review,

of judicial personnel before such personnel are cleared to work on a case

involving classified information.”)

       As in all cases, the Court has the final word on constitutional and

statutory discovery matters.          However, such decisions are not made in a

vacuum or without the input and expertise of those entrusted with keeping our

nation and our nation’s secrets safe. Courts should defer to the Executive’s

classification determinations. See, e.g. United States v. Amawi, 531 F. Supp.

2d 832, 839 (N.D. Ohio 2008) (district judge stating, “And, to the extent that I

might question whether disclosure of other, apparently less sensitive but still

classified information would create any real risk to national security, I should

be very cautious about substituting my judgment for that of those who know



1       A Classified Information Security Officer (“CISO”) is necessary to advise the Court
and address the handling and storage of classified material. Counsel ensured that a CISO
was aware of the litigation and made contact with the Court. To avoid any appearance that
the government is attempting to influence the Court through communications with the CISO,
counsel has limited interaction with the CISO to discussing logistical matters and seeking
clarification on the expected timing for the granting of necessary security clearances. Formal
appointment of one or more qualified individuals as the Court’s CISO should follow the status
hearing.


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more than I, and whose job it is to know better than I, just what those risks

might be.”), citing United States v. Yunis, 867 F.2d 617, 623 (D.C.Cir.1989);

See also United States v. Abu Marzook, 412 F. Supp. 2d 913, 921 (N.D. Ill. 2006)

(recognizing that the 4th Circuit held “a court cannot question the Executive's

designation of material as classified.”) 2 citing United States v. Smith, 750 F.2d

1215, 1217 (4th Cir.1984).

      When classified information is made available in discovery, the rights of

defense counsel to inspect such material is limited by the security clearance

requirement and the court may order defense counsel to seek a clearance.

United States v. Hashmi, 621 F.Supp. 2d 76 (S.D.N.Y. 2008); United States v.

Bin Laden, 58 F.Supp.2d 113, 117-23 (S.D.N.Y. 1999).                 Defense counsel,

however, may refuse to seek a clearance. United States v. Oakley, 2007 WL

4118298 (E.D. Tenn. 2007). In such cases, the court may appoint stand-by

counsel who can and will obtain a security clearance. The Court may also

appoint cleared counsel for limited portions of the case. Id.; see also United

States v. Abu Ali, 528 F.3d 210, 249 (4th Cir. 2008).              The need-to-know

requirement applies to cleared defense counsel. United States v. Zazi, 2011

WL 2532903 (E.D.N.Y. June 24, 2011).




2      The Abu Marzook Opinion further noted that “Although the Seventh Circuit has not
addressed this precise issue in the context of CIPA, it has provided some guidance in the
context of the Freedom of Information Act.” Abu Marzook, 412 F. Supp. 2d at 921.

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       Courts have noted the desire to protect classified information from

defense counsel, including those with clearances, is not centered on any

distrust of counsel as officers of the court; it is simply a recognition of the

sensitive and classified nature of certain documents. United States v. Daoud, 3

755 F.3d 479, 484 (7th Cir.), supplemented, 761 F.3d 678 (7th Cir. 2014)

(“Though it is certainly highly unlikely that Daoud's lawyers would, Snowden-

like, publicize classified information in violation of federal law, they might in

their zeal to defend their client, to whom they owe a duty of candid

communication, or misremembering what is classified and what not,

inadvertently say things that would provide clues to classified material.”).

                                 III. CIPA Section 2

       Once it is sufficiently clear that the matter will involve classified

information, the Court should schedule a CIPA Section 2 hearing to “establish

the timing of requests for discovery, the provision of notice required by Section

5 of [CIPA], and the initiation of the procedure established by Section 6 of

[CIPA].” 18 U.S.C. App. III § 2. At a Section 2 conference, the Court may also

consider other issues “relating to classified information that may arise in

connection with the prosecution.” Id.




3      While it is important to note that Daoud was addressing relevant portions of the
Foreign Intelligence Surveillance Act, the observations are equally applicable in the instant
context.

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      When setting timelines for hearings and deadlines for filings, the Court

may want the government to address in more specific terms how it intends to

utilize the various protections CIPA provides. Depending upon the level of

detail necessary to answer these questions from the Court, an ex parte hearing

may be necessary.

      Defense counsel has indicated they would object to any ex parte hearing

that is not explicitly called for in CIPA. DE 46, Tr. at p. 16. The Court need

not decide whether an ex parte hearing is necessary at the November 1 hearing.

Nevertheless, some context about why an ex parte hearing may be necessary

will assist the Court in making those future determinations.

      CIPA is meant to protect classified information from unnecessary

disclosure. If classified information were disclosed to defense counsel or other

non-cleared persons during a Section 2 CIPA proceeding, it would render the

Act useless and frustrate its core goals.     When a detailed discussion of

classified information, including the types of information that the government

may seek to protect through CIPA, is anticipated or necessary, the government

will request to proceed ex parte.

      An ex parte hearing to consider discovery issues is not unique to cases

involving CIPA. See Fed. R. Crim. P. 16(d)(1) (permitting ex parte judicial

review of a party’s showing of good cause to “deny, restrict, or defer discovery

or inspection, or grant other appropriate relief”). The use of ex parte

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proceedings in the context of CIPA is not limited to the government. If defense

counsel wishes to present its theory of the case or defense strategy in an ex

parte proceeding, the government would have no objection. This would allow

the Court to fully understand the defense’s perspective of the case before

making decisions that impact both parties under CIPA. See, e.g., United States

v. Turner, No. 13 CR 572-2, 2014 WL 3905873, at *3 (N.D. Ill. July 29, 2014)

(noting, in the context of CIPA Section 4 that, while seemingly awkward, an ex

parte submission by defense counsel can allow the Court to stand “in the shoes

of defense counsel” while considering the government’s submission).

      The government is hopeful that the parties and the Court are able to set

deadlines without an ex parte hearing. So far in this case, government and

defense counsel have addressed several matters in a collaborative fashion.

Government counsel will discuss CIPA scheduling with the defense counsel

and attempt to agree on realistic timelines prior to any Section 2 hearing.

However, if such an agreement is not possible, the government may seek to

inform the Court ex parte regarding any anticipated CIPA issues and the

reasons for any delay. The government will only resort to this procedure if it

is necessary to protect national security information that has a bearing on the

issues the Court would decide at a CIPA Section 2 hearing.




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                             IV. CIPA Section 3

      CIPA Section 3 mandates the issuance of “an order to protect against the

disclosure of any classified information disclosed by the United States to any

defendant in any criminal case” upon request by the government. 18 U.S.C.

App. III § 3. The key Senate Report on CIPA, issued by the Senate Committee

on the Judiciary, provides that the terms of a protective order may include, but

need not be limited to, provisions:

      (1) prohibiting the disclosure of the information except as
      authorized by the court; (2) requiring storage of material in a
      manner appropriate for the level of classification assigned to the
      documents to be disclosed: (3) requiring controlled access to the
      material during normal business hours and at other times upon
      reasonable notice; (4) requiring the maintenance of logs recording
      access by all persons authorized by the court to have access to the
      classified information in connection with the preparation of the
      defense; (5) requiring the making and handling of notes taken from
      material containing classified information; and (6) authorizing the
      assignment of government security personnel and the provision of
      government storage facilities.

S. Rep. No. 96-823 at 6, reprinted in 1980 U.S.C.C.A.N. 4294, 4299.

      A protective order is already in place in this matter. DE 45. As more

sensitive discovery is tendered, including the possibility of classified or

declassified material, the government may request additional terms in the

protective order. The parties have successfully negotiated a suitable protective

order, and the government will continue to collaborate with defense counsel if

the need for an amended protective order arises.


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                             V. CIPA Section 4

      The government anticipates that it will file a motion pursuant to CIPA

Section 4. Section 4 applies when and if it is necessary “to delete specified

items of classified information from documents to be made available to the

defendant through discovery under the Federal Rules of Criminal Procedure,

to substitute a summary of the information for such classified documents, or

to substitute a statement admitting relevant facts that the classified

information would tend to prove.” 18 U.S.C.A. § App. III § 4. That is, the

government may seek to delete information from discovery, or substitute its

form, such as providing a written summary of facts. This can help protect the

original source of the information in a manner that avoids harm to national

security without prejudicing the defendant. Since CIPA Section 4 often applies

to pre-trial discovery, the Court will likely see this section before other

substantive CIPA procedures. Nevertheless, CIPA Section 4 is not limited

solely to pretrial discovery, but includes discovery during trial. United States

v. O’Hara, 301 F.3d 563 (7th Cir. 2002).

      The district court in United States v. Turner noted, “The Seventh Circuit

has not explicitly addressed what standard a district court should apply in

analyzing government requests for protective orders under CIPA Section 4.”

No. 13 CR 572-2, 2014 WL 3905873, at *2 (N.D. Ill. July 29, 2014), citing United

States v. Hanjuan Jin, 791 F.Supp.2d 612, 618 (N.D. Ill. June 14, 2011). The

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judge in Turner recognized the “widespread agreement among the other

circuits on a four-part test for resolving CIPA discovery motions:


        [1] When considering a motion to withhold classified,
        information from discovery, a district court must first
        determine whether, pursuant to the Federal Rules of Criminal
        Procedure, statute, or the common law, the information at
        issue is discoverable at all.
        [2] If the material at issue is discoverable, the court must next
        determine whether the government has made a formal claim of
        the state secrets privilege lodged by the head of the
        department 4 which has actual control over the matter, after
        actual personal-consideration by that officer.
        [3] Once a court concludes that the material is discoverable
        and that the state secrets privilege applies, then the court
        must determine whether the evidence is relevant and helpful
        to the defense of on accused.
        [4] If the information meets the relevant and helpful test, CIPA
        § 4 empowers courts to determine the terms of discovery, if
        any.” 5
Id., citing United States v. Sedaghaty, 723 F.3d 885, 904 (9th Cir.2013)

(internal Citations and quotations omitted) (paragraph breaks added) and Jin,



4      The government does not concede that it is required to formally invoke, or meet the
requirements of, the state secrets privilege and will address this requirement further in any
CIPA Section 4 briefing. But see, United States v. Aref, 533 F.3d 72, 79 (2d Cir. 2008) (“We
are not unaware that the House of Representatives Select Committee on Intelligence stated
categorically in its report on CIPA that ‘the common law state secrets privilege is not
applicable in the criminal arena.’ H.R. Rep. 96-831, pt. 1, at 15 n. 12. That statement simply
sweeps too broadly.”).

5      Court have also employed a balancing test as a final step. See, e.g., Jin, 791 F. Supp.
2d at 619–20. (“Several circuits have also recognized or endorsed a final step in determining
whether classified information must be disclosed to a defendant: the balancing of the
Government's interest in nondisclosure against the defendant's need for the information.”).


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791 F.Supp.2d at 619 (collecting cases); see also, United States v. Al-Jayab, 16

CR 181, p. 7 (N.D. Ill. June 28, 2018) (unpublished opinion attached hereto).

      Section 4 envisions that the government may make its request in a

written statement inspected “by the court alone.” 18 U.S.C.A. § App. III § 4.

Proceeding ex parte is often necessary to protect classified information and the

very purpose of CIPA. See, United States v. Aref, 533 F.3d 72, 81 (2d Cir. 2008)

(“When the ‘government is seeking to withhold classified information from the

defendant, an adversary hearing with defense knowledge would defeat the very

purpose of the discovery rules.’”) quoting H.R. Rep. 96-831, pt. 1, at 27 n. 22;

See also, United States v. Abu-Jihaad, 630 F.3d 102, 143 (2d Cir. 2010).

      CIPA Section 4 does not create any new rights or limit the Government’s

discovery obligations under traditional rules of criminal discovery (i.e., Brady,

Giglio, Jencks Act, and Rule 16). Instead, courts apply the “relevant and

helpful” standard to classified information to determine whether such

information can be “deleted” or must be produced to the defense in an

alternative, unclassified format. A substitution must “provide the defendant

with substantially the same ability to make his defense as would disclosure of

the specific classified information.” United States v. Sedaghaty, 728 F.3d 885,

892 (9th Cir. 2013), quoting CIPA; United States v. Dumeisi, 424 F.3d 566, 578




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(7th Cir. 2005); see also 18 U.S.C. App. III, § 6. 6 The substitution must not

“materially disadvantage a defendant.” Moussaoui, 382 F.3d at 453. The

substitution should also be neutrally worded so not to “unfairly color the

presentation of the information” and should not be “shaded to the government’s

advantage.” Sedaghaty, 728 F.3d at 906. It must include all necessary facts

and crucial context. Id.; see also United States v. Fernandez, 913 F.2d 148, 154

(4th Cir. 1990) (stating national security interests cannot “override the

defendant’s right to a fair trial”). The substitution need not summarize the

entire document but rather must “fairly state[ ] the relevant elements of the

classified documents.” United States v. Rezaq, 134 F.3d 1121, 1142 (D.C. Cir.

1998).

      Courts invariably need to review the underlying documents when

determining whether deletion or substitution is appropriate. See, e.g. United

States v. Libby, 429 F.Supp.2d 18 D.D.C (2006), opinion amended on

reconsideration, 429 F.Supp.2d 46 (D.D.C.). After receiving the government’s

ex parte submissions and considering the proposed deletions or substitutions,

the Court may take any number of actions, such as allowing a partial redaction

or even a complete deletion when it finds noting relevant and helpful to the

defense. See, e.g., Jin, 791 F. Supp. 2d at 622 (N.D. Ill. 2011) (“While the email



      6 As discussed below, CIPA Section 6 allows substitutions in much the same fashion,
with similar analysis, at a later stage in the proceedings.

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might pass the low threshold of relevance, the government does not believe it

would be helpful to the defense.”).

                              VI. CIPA Section 5

      Depending on the outcome of the Section 4 proceedings, Sections 5

through 8 may not apply to this case. Nevertheless, a brief review of those

sections is included here should the need arise.

      CIPA anticipates situations where the government may need to provide

a defendant with classified information. This can either come after the

government decides there is no adequate remedy under CIPA Section 4 that

would prevent the disclosure of classified information, or after the Court rejects

the government’s proposed deletion, substitution or written statement. If the

defense becomes in possession of classified information, it does not mean that

that the information loses its classification and that it can be disclosed at trial

without further process. CIPA Section 5(a) requires defense counsel to notify

the government of the precise classified information they reasonably expect to

disclose or to cause the disclosure of “in any manner in connection with any

trial or pretrial proceeding.” 18 U.S.C. App. III, § 6 See also, e.g., United States

v. Wilson, 750 F.2d 7, 9 (2d Cir. 1984); United States v. Collins, 720 F.2d 1195,

1199-1200 (11th Cir. 1983) (finding notice insufficient and noting that it

“constitute[d] ‘greymail’ albeit written instead of hinted.”).



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                                 VII. CIPA Section 6

       Section 6 guarantees the government an opportunity to evaluate the

costs and benefits with respect to the potential use of classified disclosures at

trial. Instead of guessing what classified information might get disclosed at

trial, CIPA Section 6 provides a degree of certainly concerning what a trial will

entail.

       When the government moves under CIPA Section 6(a), 7 a Court must

“determine the use, relevance, and admissibility of classified information that

would otherwise be made during the trial or pretrial proceeding.” 18 U.S.C.

App. III § 6(a). At the Section 6(a) hearing, the Court hears the defense proffer

and the arguments of counsel, then rules whether the classified information

identified by the defense is relevant under Rule 401 of the Federal Rules of

Evidence. See generally, Yunis, 867 F.2d at 622. The Court must also analyze

other grounds for admissibility, such as determining whether the evidence is

cumulative, “prejudicial, confusing, or misleading,” so that it should be

excluded under Rule 403 of the Federal Rules of Evidence. See Wilson, 750 F.2d

at 9. At the conclusion of the Section 6(a) hearing, the Court must state in

writing the reasons for its determination as to each item of classified

information.


7       The government may also submit an affidavit of the Attorney General ex parte
certifying that the disclosure would harm national security and explaining the basis for the
classification of such evidence. 18 U.S.C. App. III § 6(c)(2).

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      Following the Section 6(a) hearing and formal findings of admissibility

by the Court, the government may move to substitute an admission of relevant

facts or summaries for classified information that the Court rules is

admissible, much in the same way the government is permitted to delete or

substitute items in discovery under CIPA Section 4. Compare 18 U.S.C. App.

III § 6(c)(1)(A) (allowing “the substitution for such classified information of a

statement admitting” what the classified information “would tend to prove.”)

with 18 U.S.C. App. III § 4 (allowing a substitution in discovery consisting of a

statement “admitting material facts”). The Court must grant the motion for

substitution “if it finds that the statement or summary will provide the

defendant with substantially the same ability to make [her] defense as would

disclosure of the specific classified information.” 18 U.S.C. App. III § 6(c)(1).

      If the Court determines that the item of classified information at issue

is relevant and admissible and denies the government’s motion for

substitution, Section 6(e)(1) of CIPA permits the government to object to the

classified information’s disclosure. 18 U.S.C. App. III § 6(e)(1). In such cases,

the Court “shall order that the defendant not disclose or cause the disclosure

of such information.” Id. Section 6(e) then sets forth a sliding scale of remedies

that the Court may impose in such a case, up to and including dismissal of one

or more counts. Id. at § 6(e).



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      In short, CIPA Section 6 provides the Court an opportunity to tell the

parties what classified information the trial will divulge. During a Section 6(e)

hearing, evidentiary rulings relating to classified information are made in

advance of trial. If the government persists against the disclosure of classified

information at trial in the face of adverse evidentiary rulings, the Court must

inform the parties of the consequence to the government for doing so.

                                 VIII. Section 7

      The United States may take an interlocutory appeal of any order

authorizing disclosure of classified information, imposing sanctions for

nondisclosure of classified information, or refusing to issue a protective order.

The nature of the appeal is limited to classified evidentiary issues and not

other errors. 18 U.S.C. App. III § 7; United States v. Rosen, 557 F.3d 192, 198

(4th Cir. 2009). If the government appeals pursuant to CIPA Section 7 prior

to trial, the trial shall not commence until the appeal has been resolved. Id at

§ 7(b). If an appeal is taken during trial, the trial is adjourned until the appeal

is resolved.     Id.   This further ensures that the government is given an

opportunity to obtain a final determination of what classified information it

must disclose.




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                                  IX. Section 8

      At present, the government does not believe the trial of this matter will

involve the disclosure of classified information. CIPA Section 8 allows parties

to stop proceedings to ensure that no classified information will be disclosed

and allows the government to object to defense counsel’s inquiries into areas of

classified information. 18 U.S.C. App. III § 8. It also allows the Court to admit

only part of a document, unless in fairness “the whole ought [to] be considered.”

Id., at § 8(b). Since the admission of classified information into evidence does

not change the nature of its classification (Id., at § 8(a)), the government will

work with the CISO to address logistical and security issues should the

disclosure of classified information through testimony or exhibits at trial

appear likely. Additional briefing on this matter may be necessary should the

Defendant file a notice under CIPA Section 5 detailing classified information

that she intends to disclose at trial.

                                 X. Conclusion

      To summarize, in the next sixty days, the government will attempt to

reach agreements with defense counsel concerning the nature and timing of

discovery and CIPA filings. If an agreement is not forthcoming, the parties

will notify the Court. The government will then request a CIPA Section 2

hearing or agreed ruling on scheduling matters, including the timing of a CIPA

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Section 4 filing and likely subsequent hearing. Should the government tender

classified discovery in this matter, Defendant must file a CIPA Section 5 notice

outlining what, if any, classified information she intends to disclose or cause

the disclosure of at trial. Depending on the results of a CIPA Section 4 hearing

and any CIPA Section 5 notice provided by the Defendant, the government my

utilize CIPA Section 6 to determine the nature of any classified information it

must disclose or allow the disclosure of at trial.

      Respectfully submitted this 26th day of October, 2018.



                                      THOMAS L. KIRSCH, II
                                      United States Attorney

                                      /s/Joshua P. Kolar
                                      ________________________________
                                      Joshua P. Kolar
                                      Abizer Zanzi
                                      Assistant United States Attorneys




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                        CERTIFICATE OF SERVICE

      I hereby certify that on October 26, 2018, I caused a copy of the
foregoing to be served by electronic filing on the defendant’s attorneys of
record:

            Thomas A. Durkin
            Joshua G. Herman

                                     /s/Joshua P. Kolar
                                     ________________________________
                                     JOSHUA P. KOLAR
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